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    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK
    ------------------------------------------------------------------x
    In re:                                                                        Chapter 13
                                                                                  Case No. 15-22732-rdd
    Roy Albers aka Roy L. Albers,

                                                 Debtor(s).
    ------------------------------------------------------------------x

    CREDITOR LOSS MITIGATION AFFIDAVIT re LOANS ENDING x4048 AND x4399


          I, Carrie Altenburg, being sworn, say:

     I am not a party to this action, am over 18 years of age, and reside in Suffolk County,
New York.

       On July 22, 2015, I served a true copy of the financial packet and this “Creditor Loss
Mitigation Affidavit”1 upon the following party via first-class mail at the following address:

                   H. Bruce Bronson, Jr., Esq.
                   Counsel for the Debtor
                   Bronson Law Offices, PC
                   480 Mamaroneck Avenue
                   Harrison, NY 10528

          Pursuant to that request, the Debtor2 must provide the following documents:

                   A copy of the Debtor’s two (2) most recent federal income tax returns;

              A copy of the Debtor’s last two (2) paycheck stubs, proof of social security
income, pensions, or any other income received by the Debtor;

          Or, if Debtor is self-employed:

               A copy of the Debtor’s business= two (2) most recent months’ profit and loss
statements, setting forth a breakdown of the monthly business income and expenses [for the
months of];

                   A copy of the mortgagee’s completed financial worksheet;
1
  Italicized words in quotations indicate that there is a form by the same name on the Bankruptcy Court’s website.
These forms shall be used whenever applicable.
2
  Unless otherwise provided herein, all capitalized terms are defined in the Southern District of New York’s Loss
Mitigation Program Procedures. The Loss Mitigation Program Procedures’ definition of “Debtor” includes joint
debtors.
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Debtor: Roy Albers aka Roy L. Albers
Case No.: 15-22732-rdd
Our File No.: 01-060666-B00 and 01-077081-B00
Loan No.: ending 4048 and ending 4399


               CREDITOR’S REQUEST FOR FINANCIAL DOCUMENTS:

_____ RMA – Form Attached

_____ Uniform Borrower Assistance Form – Form Attached

_____ A copy of last three (3) Bank statements. Must include all pages, bank institute name and
      address and borrower name and address

_____ A copy of the Debtor(s) two (2) most recent Federal Tax Returns signed and dated,
      with all Schedules

_____ A copy of the Debtor(s) last two (2) paycheck stubs; four (4) if paid weekly

_____ Proof of social security income
      *Must also be circled and marked accordingly on the bank statement

_____ Proof of pension income
      *Must also be circled and marked accordingly on the bank statement.

______ Proof of any other income received Proof of income
      *Must also be circled and marked accordingly on the bank statement.

______ If the Debtor is Self-Employed:
      - A copy of the Debtor’s business four
      - (4) most recent months bank statements; and
              Profit and Loss Statements for the last three months
              Must Include Company Name
               Must be signed/dated
              Must have specific dates
              Must be in format annexed to this Request

_____ A completed copy of the attached completed Financial Review Worksheet
      -Form Attached

_____ Proof of Second/Third Party Income by Affidavit of the party
      including last two (2) paycheck stubs four (4) if paid weekly

_____ Non-Borrower Credit Authorization Signed/Dated- Must be completed if a Borrower/Co-
      Borrower disclosed Income from a Household Member who is not on the Promissory Note.
      Form Attached
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_____ Hardship Affidavit - signed and dated

_____ Dodd –Frank Certificate - Form Attached

_____ Proof of Occupancy in the Form a Utility Bill with the Debtor’s Name and Address

_____ IRS For 4506-T – Form Attached

_____ Proof of Payment of Homeowners Association Dues – Last two (2) statements

_____ Attorney Authorization Form – Form Attached
      * Please note, if no direct contact is preferred, simply indicate same on the form and return
      the form as unsigned.

_____ If the Debtor is claiming Rental Income
       - Fully Executed rental agreements; and
       - Three Months Bank Statements verifying rental deposits
       * Must also be circled and marked accordingly on the bank statement.
               IF THE RENTAL INCOME INDICATED ON AGREEMENT IS NOT
               CONSISTENT WITH AMOUNT OF THE RENTAL INCOME INDICATED
               ON THE BANKING STATEMENTS PLEASE PROVIDE A LETTER OF
               EXPLANATION
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 UNIFORM BORROWER ASSISTANCE FORM       Pg 5 of 26

 If you are experiencing a temporary or long-term hardship and need help, you must complete and submit this form along
 with other required documentation to be considered for available solutions. On this page, you must disclose information
 about (1) you and your intentions to either keep or transition out of your home; (2) the property’s status; (3) bankruptcy;
 and (4) your credit counseling agency.
 On Page 2, you must disclose information about all of your income, expenses and assets. Page 2 also lists the required
 income documentation that you must submit in support of your request for assistance. Then on Page 3, you must
 complete the Hardship Affidavit in which you disclose the nature of your hardship. The Hardship Affidavit informs you of
 the required documentation that you must submit in support of your hardship claim.
 NOTICE: In addition, when you sign and date this form, you will make important certifications, representations and
 agreements, including certifying that all of the information in this Borrower Assistance Form is accurate and truthful
 and any identified hardship has contributed to your submission of this request for mortgage relief.
 REMINDER: The Borrower Response Package you need to return consists of: (1) this completed, signed and dated
 Borrower Assistance Form; (2) completed and signed IRS Form 4506T-EZ (4506T for self-employed borrowers or
 borrowers with rental income); (3) required income documentation; and (4) required hardship documentation.

 Loan Number     __________________________________________________                                   (usually found on your monthly mortgage statement)
 Servicer’s Name __________________________________________________
 I want to:                        Keep the Property              Vacate the Property                              Sell the Property                                   Undecided

 The property is currently:        My Primary Residence           A Second Home                                    An Investment Property

 The property is currently:        Owner Occupied                 Renter Occupied                                  Vacant

                                  BORROWER                                                                                   CO-BORROWER
 BORROWER’S NAME                                                                        CO-BORROWER’S NAME

 SOCIAL SECURITY NUMBER                    DATE OF BIRTH                                SOCIAL SECURITY NUMBER                             DATE OF BIRTH


 HOME PHONE NUMBER WITH AREA CODE                                                       HOME PHONE NUMBER WITH AREA CODE

 CELL OR WORK NUMBER WITH AREA CODE                                                     CELL OR WORK NUMBER WITH AREA CODE


 MAILING ADDRESS


 PROPERTY ADDRESS (IF SAME AS MAILING ADDRESS, JUST WRITE SAME)                                            EMAIL ADDRESS


 Is the property listed for sale?       Yes       No                                    Have you contacted a credit counseling agency for help?
 If yes, what was the listing date? ͺͺͺͺͺͺͺͺͺͺͺ                                              Yes              No
 If property has been listed for sale, have you received an offer on the                If yes, please complete the counselor contact information below:
 property?                              Yes     No                                      Counselor’s Name: ͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺ
 Date of offer:  ͺͺͺͺͺͺͺͺͺͺͺmount of Offer: $ͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺ                   Agency’s Name:       ͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺ
 Agent’s Name: ͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺ
                                                                                        Counselor’s Phone Number: ͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺ
 Agent’s Phone Number:
 For Sale by Owner?                     Yes       No                                    Counselor’s Email Address: ͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺ
 Do you have condominium or homeowner association (HOA) fees?            Yes                  No
 Total monthly amount: $                               Name and address that fees are paid to:

 Have you filed for bankruptcy?     Yes       No       If yes:             Chapter 7                        Chapter 11                      Chapter 12                     Chapter 13
 If yes, what is the filing Date: ͺͺͺͺͺͺͺͺͺͺ Has your bankruptcy been discharged?              Yes                 No         Bankruptcy case number: ͺͺͺͺͺͺͺͺͺͺͺͺͺͺ

 Is any Borrower an active duty service member?                                                                                                                      Yes                No
 Has any Borrower been deployed away from his/her primary residence or received a Permanent Change of Station order?                                                 Yes                No
 Is any Borrower the surviving spouse of a deceased service member who was on active duty at the time of death?                                                      Yes                No


Fannie Mae/Freddie Mac Form 710                                    Page 1 of 4 :ƵŶĞϮϬϭϰ
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UNIFORM BORROWER ASSISTANCE FORM        Pg 6 of 26
        Monthly Household Income                       Monthly Household Expenses and Debt Household Assets (associated with the
                                                                   Payments                property and/or borrower(s)excluding
                                                                                                     retirement funds)
Gross wages                            $              First Mortgage Payment                          $                      Checking Account(s)                                      $
Overtime                               $              Second Mortgage Payment                         $                      Checking Account(s)                                      $
Child Support / Alimony*               $              Homeowner’s Insurance                           $                      Savings / Money Market                                   $
Non-taxable social security/SSDI       $              Property Taxes                                  $                      CDs                                                      $
Taxable SS benefits or other monthly   $              Credit Cards / Installment Loan(s) (total $                            Stocks / Bonds                                           $
income from annuities or retirement                   minimum payment per month)
plans
Tips, commissions, bonus and self-     $              Alimony, child support payments                 $                      Other Cash on Hand                                       $
employed income
Rents Received                         $              Car Lease Payments                              $                      Other Real Estate (estimated value)                      $
Unemployment Income                    $              HOA/Condo Fees/Property Maintenance $                                  Other                                                    $
Food Stamps/Welfare                    $              Mortgage Payments on other properties $                                                                                         $
Other                                  $              Other                                           $                                                                               $
Total (Gross income)                   $0             Total Household Expenses and Debt               $0                     Total Assets                                             $0
                                                      Payments
Any other liens (mortgage liens, mechanics liens, tax liens, etc.)
Lien Holder’s Name                         Balance and Interest Rate                  Loan Number                                                  Lien Holder’s Phone Number




                                                           Required Income Documentation
    
    Do you earn a salary or hourly wage?                         
                                                                 Are you self-employed?
    For each borrower who is a salaried employee or               For each borrower who receives self-employed income, include a complete, signed
    paid by the hour, include paystub(s) reflecting the          individual federal income tax return and, as applicable, the business tax return; AND
    most recent 30 days’ ŽƌĨŽƵƌǁĞĞŬƐΖearnings and             either the most recent signed and dated quarterly or year-to-date profit/loss statement
    documentation reflecting year-to-date earnings, if           that reflects activity for the most recent three months; OR copies of bank statements for
    not reported on the paystubs (e.g. signed letter or          the business account for the last two months evidencing continuation of business
    printout from employer).                                     activity.
   
   Do you have any additional sources of income? Provide for each borrower as applicable:
    “Other Earned Income” such as bonuses, commissions, housing allowance, tips, or overtime:
        Reliable third-party documentation describing the amount and nature of the income (e.g., paystub, employment contract or printouts
         documenting tip income).
     Social Security, disability or death benefits, pension, public assistance, or adoption assistance:
       Documentation showing the amount and frequency of the benefits, such as letters, exhibits, disability policy or benefits statement from the
         provider, and
       Documentation showing the receipt of payment, such as copies of the two most recent bank statements showing deposit amounts.
     Rental income:
       Copy of the most recent filed federal tax return with all schedules, including Schedule E—Supplement Income and Loss. Rental income for
         qualifying purposes will be 75% of the gross rent you reported reduced by the monthly debt service on the property, if applicable; or
       If rental income is not reported on Schedule E – Supplemental Income and Loss, provide a copy of the current lease agreement with either
         bank statements or cancelled rent checks demonstrating receipt of rent.
     Investment income:
       Copies of the two most recent investment statements or bank statements supporting receipt of this income.
     Alimony, child support, or separation maintenance payments as qualifying income:*
       Copy of divorce decree, separation agreement, or other written legal agreement filed with a court, or court decree that states the amount
         of the alimony, child support, or separation maintenance payments and the period of time over which the payments will be received, and
       Copies of your two most recent bank statements or other third-party documents showing receipt of payment.

 *Notice: Alimony, child support, or separate maintenance income need not be revealed if you do not choose to have it considered for repaying
 this loan.




Fannie Mae/Freddie Mac Form 710                                            Page 2 of 4 :ƵŶĞϮϬϭϰ
      15-22732-rdd Doc 13 Filed 07/22/15 Entered 07/22/15 12:34:16                                                                   Main Document
 UNIFORM BORROWER ASSISTANCE FORM       Pg 7 of 26
                                                       HARDSHIP AFFIDAVIT
I am requesting review of my current financial situation to determine whether I qualify for temporary or permanent mortgage loan relief
options.        Date Hardship Began is:
I believe that my situation is:
    Short-term (under 6 months)        Medium-term (6 – 12 months)         Long-term or Permanent Hardship (greater than 12 months)
I am having difficulty making my monthly payment because of reason set forth below:
(Please check the primary reason and submit required documentation demonstrating your primary hardship)
If Your Hardship is:                            Then the Required Hardship Documentation is:
   Unemployment                                  No hardship documentation required
   Reduction in Income: a hardship that         No hardship documentation required
    has caused a decrease in your income
                                                                                  
    due to circumstances outside your
    control (e.g., elimination of overtime,
    reduction in regular working hours, a
    reduction in base pay)
   Increase in Housing Expenses: a                No hardship documentation required
    hardship that has caused an increase in
    your housing expenses due to
    circumstances outside your control
   Divorce or legal separation; Separation        Divorce decree signed by the court; OR
    of Borrowers unrelated by marriage,            Separation agreement signed by the court; OR
    civil union or similar domestic                Current credit report evidencing divorce, separation, or non-occupying
    partnership under applicable law                borrower has a different address; OR
                                                  
                                                  Recorded quitclaim deed evidencing that the non-occupying Borrower or co-
                                                    Borrower has relinquished all rights to the property
   Death of a borrower or death of either         Death certificate; OR
    the primary or secondary wage earner           Obituary or newspaper article reporting the death
    in the household
   Long-term or permanent disability;           Proof of monthly insurance benefits or government assistance (if applicable); OR
    Serious illness of a borrower/co-              Written statement or other documentation verifying disability or illness; OR
    borrower or dependent family member            Doctor’s certificate of illness or disability; OR
                                                 Medical bills
                                             None of the above shall require providing detailed medical information.
   Disaster (natural or man-made)               Insurance claim; OR
    adversely impacting the property or          Federal Emergency Management Agency grant or Small Business Administration
    Borrower’s place of employment                 loan; OR
                                                Borrower or Employer property located in a federally declared disaster area
   Distant employment transfer / Relocation For active duty service members: Notice of Permanent Change of Station (PCS) or
                                             actual PCS orders.
                                             For employment transfers/new employment:
                                                 Copy of signed offer letter or notice from employer showing transfer to a new
                                                   employment location; OR
                                                 Paystub from new employer
                                                In addition to the above, documentation that reflects the amount of any relocation
                                                assistance provided, if applicable (not required for those with PCS orders).
   Business Failure                               Tax return from the previous year (including all schedules) AND
                                                   Proof of business failure supported by one of the following:
                                                      Bankruptcy filing for the business; OR
                                                      Two months recent bank statements for the business account evidencing
                                                          cessation of business activity; OR
                                                      Most recent signed and dated quarterly or year-to-date profit and loss
                                                          statement
   Other: a hardship that is not covered          Written explanation describing the details of the hardship and relevant
    above                                          documentation



Fannie Mae/Freddie Mac Form 710                              Page 3 of 4 :ƵŶĞϮϬϭϰ
         15-22732-rdd         Doc 13      Filed 07/22/15          Entered 07/22/15 12:34:16                                          Main Document
     Borrower/Co-Borrower Acknowledgement and Agreement         Pg 8 of 26
     I certify, acknowledge, and agree to the following:
          1. All of the information in this Borrower Assistance Form is truthful and the hardship that I have identified
               contributed to my need for mortgage relief.
          2. The accuracy of my statements may be reviewed by the Servicer, owner or guarantor of my mortgage, their
               agent(s), or an authorized third party*, and I may be required to provide additional supporting documentation.
               I will provide all requested documents and will respond timely to all Servicer, or authorized third party*,
               communications.
          3. Knowingly submitting false information may violate Federal and other applicable law.
          4. If I have intentionally defaulted on my existing mortgage, engaged in fraud or misrepresented any fact(s) in
               connection with this request for mortgage relief or if I do not provide all required documentation, the Servicer
               may cancel any mortgage relief granted and may pursue foreclosure on my home and/or pursue any available
               legal remedies.
          5. The Servicer is not obligated to offer me assistance based solely on the representations in this document or
               other documentation submitted in connection with my request.
          6. I may be eligible for a trial period plan, repayment plan, or forbearance plan. If I am eligible for one of these
               plans, I agree that:
                    a. All the terms of this Acknowledgment and Agreement are incorporated into such plan by reference as
                         if set forth in such plan in full.
                    b. My first timely payment under the plan will serve as acceptance of the terms set forth in the notice of
                         the plan sent by the Servicer.
                    c. The Servicer’s acceptance of any payments under the plan will not be a waiver of any acceleration of
                         my loan or foreclosure action that has occurred and will not cure my default unless such payments are
                         sufficient to completely cure my entire default under my loan.
                    d. Payments due under a trial period plan for a modification will contain escrow amounts. If I was not
                         previously required to pay escrow amounts, and my trial period plan contains escrow amounts, I agree
                         to the establishment of an escrow account and agree that any prior waiver is revoked. Payments due
                         under a repayment plan or forbearance plan may or may not contain escrow amounts. If I was not
                         previously required to pay escrow amounts and my repayment plan or forbearance plan contains
                         escrow amounts, I agree to the establishment of an escrow account and agree that any prior escrow
                         waiver is revoked.
          7. A condemnation notice has not been issued for the property.
          8. The Servicer or authorized third party* will obtain a current credit report on all borrowers obligated on the
               Note.
          9. The Servicer or authorized third party* will collect and record personal information that I submit in this
               Borrower Response Package and during the evaluation process. This personal information may include, but is
               not limited to: (a) my name, address, telephone number, (b) my social security number, (c) my credit score, (d)
               my income, and (e) my payment history and information about my account balances and activity. I understand
               and consent to the Servicer or authorized third party*, as well as any investor or guarantor (such as Fannie
               Mae or Freddie Mac), disclosing my personal information and the terms of any relief or foreclosure alternative
               that I receive to the following:
                    a. Any investor, insurer, guarantor, or servicer that owns, insures, guarantees, or services my first lien or
                         subordinate lien (if applicable) mortgage loan(s) or any companies that perform support services to
                         them; and
                    b. The U.S. Department of Treasury, Fannie Mae and Freddie Mac, in conjunction with their
                         responsibilities under the Making Home Affordable program, or any companies that perform support
                         services to them.
          10. I consent to being contacted concerning this request for mortgage assistance at any telephone number,
               including mobile telephone number, or email address I have provided to the Lender/Servicer/ or authorized
               third party*. By checking this box, I also consent to being contacted by text messaging.

              _________________________________ __________ ___________________________ __________
              Borrower Signature                Date       Co-Borrower Signature       Date

     *An authorized third party may include, but is not limited to, a counseling agency, Housing Finance Agency (HFA) or
      other similar entity that is assisting me in obtaining a foreclosure prevention alternative.

Fannie Mae/Freddie Mac Form 710                              Page 4 of 4 :ƵŶĞϮϬϭϰ
    Making Home Affordable
        15-22732-rdd  Doc Program
                           13 Filed 07/22/15                                         Entered 07/22/15 12:34:16                        Main Document
    Request For Mortgage Assistance (RMA)                                           Pg 9 of 26

 If you are experiencing a financial hardship and need help, you must complete and submit this form along with other required documentation to be considered for foreclosure
 prevention options under the Making Home Affordable (MHA) Program. You must provide information about yourself and your intentions to either keep or transition out of
 your property; a description of the hardship that prevents you from paying your mortgage(s); information about all of your income, expenses and financial assets; whether
 you have declared bankruptcy; and information about the mortgage(s) on your principal residence and other single family real estate that you own. Finally, you will need to
 return to your loan servicer (1) this completed, signed and dated Request for Mortgage Assistance (RMA); and (2) completed and signed IRS Form 4506-T or 4506T-EZ; and
 (3) all required income documentation identified in Section 4.

             When you sign and date this form, you will make important certifications, representations and agreements, including certifying that all of
                                                       the information in this RMA is accurate and truthful.


                                                        SECTION 1: BORROWER INFORMATION

                              BORROWER                                                                                 CO-BORROWER
 BORROWER'S NAME                                                                         CO-BORROWER'S NAME

 SOCIALSECURITYNUMBER              DATE OF BIRTH (MM/DD/YYYY)                            SOCIALSECURITYNUMBER             DATE OF BIRTH (MM/DD/YYYY)
 _____________________             _____________________________                         _____________________            _____________________________
 HOME PHONE NUMBER WITH AREA CODE                                                        HOME PHONE NUMBER WITH AREA CODE
 ________________________________________________________                                ________________________________________________________
 CELL OR WORK NUMBER WITH AREA CODE                                                      CELL OR WORK NUMBER WITH AREA CODE
 ________________________________________________________                                ________________________________________________________
 MAILING ADDRESS                                                                         MAILING ADDRESS (IF SAME AS BORROWER, WRITE “SAME”)
                                                                                         ________________________________________________________
 EMAIL ADDRESS                                                                           EMAIL ADDRESS
 ________________________________________________________                                ________________________________________________________


  Has any borrower filed for bankruptcy?         Chapter 7             Chapter 13        Is any borrower a servicemember?
                                                                                                                                                                   Yes       No
  Filing Date: _____________         Bankruptcy case number:        ____________         Have you recently been deployed away from your principal
                                                                                         residence or recently received a permanent change of station              Yes       No
  Has your bankruptcy been discharged?            Yes          No                        order?


How many single family properties other than your principal residence do you and/or any co-borrower(s) own individually, jointly, or with others?       ________
Has the mortgage on your principal residence ever had a Home Affordable Modification Program (HAMP) trial period plan or permanent modification?                 Yes       No
Has the mortgage on any other property that you or any co-borrower own had a permanent HAMP modification?               Yes         No     If “Yes”, how many? ________
Are you or any co-borrower currently in or being considered for a HAMP trial period plan on a property other than your principal residence?             Yes      No



                                                             SECTION 2: HARDSHIP AFFIDAVIT
                                                               I (We) am/are requesting review under MHA.
                             I am having difficulty making my monthly payment because of financial difficulties created by (check all that apply):

     My household income has been reduce. For example: reduced pay or hours,
     decline in business or self-employment earnings, death, disability, or divorce of         My monthly debt payments are exclusive and I am overextended with my
      a borrower or co-borrower.                                                               creditors. Debt includes credit cards, home equity or other debt.

    My expenses have increased. For example: monthly mortgage payment reset,
                                                                                                My cash reserves, including all liquid assets, are insufficient to maintain my
    high medical or health care costs, uninsured losses, increased utilities, or
  Explanation (continue on a separate sheet of paper if necessary):                             current mortgage payment and cover basic living expenses at the same time.
    property taxes.
     I am unemployed and (a) I am receiving/will receive unemployment                       Other:
     benefits or (b) my unemployment benefits ended less than 6 months ago.
Explanation (continue on a separate sheet of paper if necessary):




                                                                              Page 1 of 7                                                                                3/30/2012
               15-22732-rdd               Doc 13  SECTION
                                                        Filed3:07/22/15
                                                                 PRINCIPALEntered
                                                                                RESIDENCE     INFORMATION
                                                                                         07/22/15     12:34:16 Main Document
                              (This section is required even if you are not Pg
                                                                            seeking mortgage
                                                                                10 of 26     assistance on your principal residence)


                                                                I am requesting mortgage assistance with my principal residence                  YES           NO

                                                                                   If “yes”        Keep the property         Sell the property




Property Address: __________________________________________________________________________________________________________                                          Loan ID Number: __________________________

Other mortgages or liens on the property?              YES         NO           Lien Holder / Servicer Name: ____________________________________                     Loan ID Number: ___________________________

Do you have condominium or homeowner association (HOA) fees?                      YES         NO           If “Yes”, Monthly Fee $______________________            Are fees paid current       YES     NO

Name and address that fees are paid to: ________________________________________________________________________________________________________________________________

Does your mortgage payment include taxes and Insurance?                 YES          NO                   If “NO”, are the taxes and insurance paid current?          YES          NO

Annual Homeowner’s Insurance $_____________

Is the property listed for sale?           YES         NO      If “YES”, Listing Agent’s Name: _____________________________________                   Phone Number: _____________________________________

List Date? _______________             Have you received a purchase offer?          YES        NO          Amount of Offer    $__________________________ Closing Date: ______________________________


                                              Complete this section ONLY if you are requesting mortgage assistance with a property that is not your principal residence.




Principal residence servicer name:                  ________________________________________________                Principal residence servicer phone number:              _____________________________________

Is the mortgage on your principal residence paid?               YES           NO                        if “NO” number of months your payment is past due (if known):


                             SECTION 4: COMBINED INCOME AND EXPENSE OF BORROWER AND CO-BORROWER

                                                                                          Monthly Household Expense/Debt
                  Monthly Household Income                                              (*Principal Residence Expense Only)                                                     Household Assets


Monthly Gross wages
                                   $                                    First Mortgage Principal &
                                                                                                              $                                    Checking Account(s)
                                                                                                                                                                                            $
                                                                        Interest Payment*


Overtime
                                   $                                    Second Mortgage Principal &
                                                                                                              $                                    Checking Account(s)
                                                                                                                                                                                            $
                                                                        Interest Payment*

Self employment Income
                                   $                                    Homeowner's Insurance*
                                                                                                              $                                    Savings / Money Market
                                                                                                                                                                                            $

Unemployment Income
                                   $                                    Property Taxes*
                                                                                                              $                                    CDs
                                                                                                                                                                                            $

Untaxed Social
                                   $                                    HOA/Condo Fees*
                                                                                                              $                                    Stocks / Bonds
                                                                                                                                                                                            $
Security/SSD

Food Stamps/Welfare
                                   $                                    Credit Cards/Installment debt
                                                                                                              $                                    Other Cash on Hand
                                                                                                                                                                                            $
                                                                        (total min. payment)

Taxable Social Security or
                                   $                                    Child Support / Alimony
                                                                                                              $                                                                             $
retirement income

Child Support /
                                   $                                    Car Payments
                                                                                                              $                                                                             $
Alimony**

Tips, commissions, bonus
                                   $                                    Mortgage Payments other
                                                                                                              $                                                                             $
and overtime                                                            properties****

Gross Rents Received ***
                                   $                                    Other
                                                                                                              $                                    Value of all Real Estate except
                                                                                                                                                                                            $
                                                                                                                                                   principal residence

Other
                                   $                                                                          $                                    Other
                                                                                                                                                                                            $

Total (Gross income)
                                   $                                    Total Debt/Expenses
                                                                                                              $                                    Total Assets
                                                                                                                                                                                            $
** Alimony, child support or separate maintenance income need not be disclosed if you do not choose to have it considered for repaying your mortgage debt.
*** Include rental income received from aII properties you own EXCEPT a property for which you are seeking mortgage assistance in Section 6.
****Include mortgage payments on all properties you own EXCEPT your principal residence and the property for which you are seeking mortgage assistance in Section 6.


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                                                                          Required Income Documentation
                                        (Your servicer may request additional documentation to complete your evaluation for MHA)
All Borrowers                                                    Include a signed IRS Form 4506T or 4506T-EZ

   Do you earn a wage?                                           For each borrower who is a salaried employee or hourly wage earner, provide the most recent pay stub(s) that reflects at least 30
                                                                 days of year-to-date income.

   Borrower Hire Date (MM/DD/YY)______________
   Co-borrower Hire Date (MM/DD/YY)___________
   Are you self-employed?                                        Provide your most recent signed and dated quarterly or year-to date profit and loss statement.

   Do you receive tips, commissions, bonuses, housing            Describe the type of income, how frequently you receive the income and third party documentation describing the income (e.g.,
   allowance or overtime?                                        employment contracts or printouts documenting tip income).
   Do you receive social security, disability, death             Provide documentation showing the amount and frequency of the benefits, such as letters, exhibits, disability policy or benefits
   benefits, pension, public assistance or adoption              statement from the provider and receipt of payment (such as two most recent bank statements or deposit advices).
   assistance?
                                                                 Provide a copy of the divorce decree, separation agreement, or other written legal agreement filed with the court that states the
   Do you receive alimony, child support, or separation          amount of the payments and the period of time that you are entitled to receive them. AND
   maintenance payments?                                         Copies of your two most recent bank statements or deposit advices showing you have received payment.
                                                                 Notice: Alimony, child support or separate maintenance income need not be disclosed if you do not choose to have it
                                                                 considered for repaying your mortgage debt.
   Do you have income from rental properties that are not
   your principal residence?                                     Provide your most recent Federal Tax return with all schedules, including Schedule E.
                                                                 If rental income is not reported on Schedule E, provide a copy of the current lease agreement with bank statements showing
                                                                 deposit of rent checks.


                                                                  SECTION 5: OTHER PROPERTIES OWNED
                                 (You must provide information about all properties that you or the co-borrower own, other than your principal residence and any
                                                           property described in Section 6 below. Use additional sheets if necessary.)


                                                                                      Other Property #1

Property Address: ________________________________________________________________________________________________________ Loan I.D. Number: ____________________
Servicer Name: _______________________________________________ Mortgage Balance $ ______________________ Current Value $ _________________________
Property is:        Vacant           Second or seasonal home       Rented           Gross Monthly Rent $ ____________________ Monthly mortgage payment* $ ___________________


                                                                                        Other Property #2

Property Address: ________________________________________________________________________________________________________ Loan I.D. Number: ____________________
Servicer Name: _______________________________________________ Mortgage Balance $ ______________________ Current Value $ _________________________
Property is:        Vacant           Second or seasonal home       Rented           Gross Monthly Rent $ ____________________ Monthly mortgage payment* $ ___________________


                                                                                        Other Property #3

Property Address: ________________________________________________________________________________________________________ Loan I.D. Number: ____________________
Servicer Name: _______________________________________________ Mortgage Balance $ ______________________ Current Value $ _________________________
Property is:        Vacant           Second or seasonal home       Rented           Gross Monthly Rent $ ____________________ Monthly mortgage payment* $ ___________________




                * The amount of the monthly payment made to your lender – including, if applicable, monthly principal, interest, real property taxes and insurance premiums..




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                 15-22732-rdd SECTION  Doc 136: OTHER
                                                   Filed PROPERTY
                                                          07/22/15 FOR   Entered
                                                                            WHICH 07/22/15
                                                                                      ASSISTANCE  12:34:16
                                                                                                    IS REQUESTED   Main Document
                (Complete this section ONLY if you are requesting mortgage assistance
                                                                     Pg 12 of 26      with a property that is not your principal residence.)


                                                        I am requesting mortgage assistance with a rental property.                    Yes          No
                                                  I am requesting mortgage assistance with a second or seasonal home.                        Yes         No
                                                         If “Yes” to either, I want to:            Keep the property              Sell the property
Property Address: _________________________________________________________________________________________________                                           Loan I.D. Number: ________________
Do you have a second mortgage on the property               Yes         No     If "Yes", Servicer Name: ____________________________ Loan I.D. Number: ______________________
Do you have condominium or homeowner association (HOA) fees?                     Yes        No If "Yes", Monthly Fee $ _______________ Are HOA fees paid current?                    Yes     No
Name and address that fees are paid to:       ________________________________________________________________________________________________________________
Does your mortgage payment include taxes and insurance?                  Yes           No             If "No", are the taxes and insurance paid current?            Yes         No
Annual Homeowner's Insurance $ ____________________                      Annual Property Taxes $ _____________________
If requesting assistance with a rental property, property is currently:           Vacant and available for rent.
                                                                                  Occupied without rent by your legal dependent, parent or grandparent as their principal residence.
                                                                                  Occupied by a tenant as their principal residence.
                                                                                  Other _________________________________________________________________________
If rental property is occupied by a tenant: Term of lease / occupancy ____ / ____ / ____ -- ____ / ____ / ____ Gross Monthly Rent $ ___________________________
                                                                             MM / DD / YYYY          MM / DD / YYYY
If rental property is vacant, describe efforts to rent property: ___________________________________________________________________________________________________
 ___________________________________________________________________________________________________________________________________________________
If applicable, describe relationship of and duration of non-rent paying occupant of rental property: _____________________________________________________________________
 ___________________________________________________________________________________________________________________________________________________
Is the property for sale?       Yes        No            If “Yes”, Listing Agent's Name: __________________________                                Phone Number: ______________________________
List date? _____________           Have you received a purchase offer?             Yes        No         Amount of offer          $ __________________        Closing Date: _____________________


                                                                        RENTAL PROPERTY CERTIFICATION
                                (You must complete this certification if you are requesting a mortgage modification with respect to a rental property.)

      By checking this box and initialing below, I am requesting a mortgage modification under MHA with respect to the rental property described in this Section 6 and I
      hereby certify under penalty of perjury that each of the following statements is true and correct with respect to that property:
         1.   I intend to rent the property to a tenant or tenants for at least five years following the effective date of my mortgage modification. I understand that the
              servicer, the U.S. Department of the Treasury, or their respective agents may ask me to provide evidence of my intention to rent the property during such
              time. I further understand that such evidence must show that I used reasonable efforts to rent the property to a tenant or tenants on a year-round basis, if
              the property is or becomes vacant during such five-year period.

              Note: The term “reasonable efforts” includes, without limitation, advertising the property for rent in local newspapers, websites or other commonly used
              forms of written or electronic media, and/or engaging a real estate or other professional to assist in renting the property, in either case, at or below market
              rent.

         2.   The property is not my secondary residence and I do not intend to use the property as a secondary residence for at least five years following the effective
              date of my mortgage modification. I understand that if I do use the property as a secondary residence during such five-year period, my use of the property
              may be considered to be inconsistent with the certifications I have made herein.

              Note: The term “secondary residence” includes, without limitation, a second home, vacation home or other type of residence that I personally use or
              occupy on a part-time, seasonal or other basis.

         3.   I do not own more than five (5) single-family homes (i.e., one-to-four unit properties) (exclusive of my principal residence).

      Notwithstanding the foregoing certifications, I may at any time sell the property, occupy it as my principal residence, or permit my legal dependent, parent
      or grandparent to occupy it as their principal residence with no rent charged or collected, none of which will be considered to be inconsistent with the
      certifications made herein.
      This certification is effective on the earlier of the date listed below or the date the RMA is received by your servicer.
Initials: Borrower ___________             Co-borrower __________




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                                                                      SECTION 7: DODD -FRANK CERTIFICATION


The following information is requested by the federal government in accordance with the Dodd-Frank Wall Street Reform and Consumer Protection Act (Pub. L.111-203). You are required
to furnish this information. The law provides that no person shall be eligible to begin receiving assistance from the Making Home Affordable Program, authorized under the Emergency
Economic Stabilization Act of 2008 (12 U.S.C. 5201 et seq.), or any other mortgage assistance program authorized or funded by that Act, if such person, in connection with a mortgage or
real estate transaction, has been convicted, within the last 10 years, of any one of the following: (A) felony larceny, theft, fraud, or forgery, (B) money laundering or (C) tax evasion.

I/we certify under penalty of perjury that I/we have not been convicted within the last 10 years of any one of the following in connection with a mortgage or real estate transaction:

              (a) felony larceny, theft, fraud, or forgery,
              (b) money laundering or
              (c) tax evasion.

I/we understand that the servicer, the U.S. Department of the Treasury, or their respective agents may investigate the accuracy of my statements by performing routine background checks,
including automated searches of federal, state and county databases, to confirm that I/we have not been convicted of such crimes. I/we also understand that knowingly submitting false
information may violate Federal law. This certification is effective on the earlier of the date listed below or the date this RMA is received by your servicer.




                                              SECTION 8: INFORMATION FOR GOVERNMENT MONITORING PURPOSES

The following information is requested by the federal government in order to monitor compliance with federal statutes that prohibit discrimination in housing. You are not required to furnish this
information, but are encouraged to do so. The law provides that a lender or servicer may not discriminate either on the basis of this information, or on whether you choose to furnish it. If you
furnish the information, please provide both ethnicity and race. For race, you may check more than one designation. If you do not furnish ethnicity, race, or sex, the lender or servicer is required to note
the information on the basis of visual observation or surname if you have made this request for a loan modification in person. If you do not wish to furnish the information, please check the box
below.
BORROWER             I do not wish to furnish this information                                        CO-BORROWER                 I do not wish to furnish this information

Ethnicity               Hispanic or Latino                                                            Ethnicity                Hispanic or Latino

                        Not Hispanic or Latino                                                                                 Not Hispanic or Latino

Race:                   American Indian or Alaska Native                                              Race:                    American Indian or Alaska Native

                        Asian                                                                                                  Asian

                        Black or African American                                                                              Black or African American

                         Native Hawaiian or Other Pacific Islander                                                              Native Hawaiian or Other Pacific Islander

                         White                                                                                                 White

Sex:                     Female                                                                       Sex:                      Female

                         Male                                                                                                   Male

                                                                                                                                                       Name/Address of Interviewer's Employer
                                                  To be completed by interviewer

This request was taken by:                                            Interviewer's Name (print or type) & ID Number

       Face-to-face Interview
                                                                      Interviewer's Signature                 Date
       Mail

       Telephone
                                                                      Interviewer's Phone Number (include area code)
       Internet




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                             SECTION 9: BORROWER AND CO-BORROWER ACKNOWLEDGEMENT AND AGREEMENT


1.   I certify that all of the information in this RMA is truthful and the hardship(s) identified above has contributed to submission of this request for mortgage relief.

2.   I understand and acknowledge that the Servicer, the U.S. Department of the Treasury, the owner or guarantor of my mortgage loan, or their respective agents may investigate
     the accuracy of my statements, may require me to provide additional supporting documentation and that knowingly submitting false information may violate Federal and
     other applicable law.

3.   I authorize and give permission to the Servicer, the U.S. Department of the Treasury, and their respective agents, to assemble and use a current consumer report on all
     borrowers obligated on the loan, to investigate each borrower’s eligibility for MHA and the accuracy of my statements and any documentation that I provide in connection
     with my request for assistance. I understand that these consumer reports may include, without limitation, a credit report, and be assembled and used at any point during the
     application process to assess each borrower’s eligibility thereafter.

4.   I understand that if I have intentionally defaulted on my existing mortgage, engaged in fraud or if it is determined that any of my statements or any information contained in
     the documentation that I provide are materially false and that I was ineligible for assistance under MHA, the Servicer, the U.S. Department of the Treasury, or their
     respective agents may terminate my participation in MHA, including any right to future benefits and incentives that otherwise would have been available under the program,
     and also may seek other remedies available at law and in equity, such as recouping any benefits or incentives previously received.

5.   I certify that any property for which I am requesting assistance is a habitable residential property that is not subject to a condemnation notice.

6.   I certify that I am willing to provide all requested documents and to respond to all Servicer communications in a timely manner. I understand that time is of the essence.

7.   I understand that the Servicer will use the information I provide to evaluate my eligibility for available relief options and foreclosure alternatives, but the Servicer is not
     obligated to offer me assistance based solely on the representations in this document or other documentation submitted in connection with my request.

8.   I am willing to commit to credit counseling if it is determined that my financial hardship is related to excessive debt.

9.   If I am eligible for assistance under MHA, and I accept and agree to all terms of an MHA notice, plan, or agreement, I also agree that the terms of this Acknowledgment and
     Agreement are incorporated into such notice, plan, or agreement by reference as if set forth therein in full. My first timely payment, if required, following my servicer's
     determination and notification of my eligibility or prequalification for MHA assistance will serve as my acceptance of the terms set forth in the notice, plan, or agreement
     sent to me.

10. I understand that my Servicer will collect and record personal information that I submit in this RMA and during the evaluation process, including, but not limited to, my
    name, address, telephone number, social security number, credit score, income, payment history, government monitoring information, and information about my account
    balances and activity. I understand and consent to the Servicer’s disclosure of my personal information and the terms of any MHA notice, plan or agreement to the U.S.
    Department of the Treasury and its agents, Fannie Mae and Freddie Mac in connection with their responsibilities under MHA, companies that perform support services in
    conjunction with MHA, any investor, insurer, guarantor, or servicer that owns, insures, guarantees, or services my first lien or subordinate lien (if applicable) mortgage
    loan(s) and to any HUD-certified housing counselor.

11. I consent to being contacted concerning this request for mortgage assistance at any e-mail address or cellular or mobile telephone number I have provided to the Servicer.
    This includes text messages and telephone calls to my cellular or mobile telephone.

The undersigned certifies under penalty of perjury that all statements in this document are true and correct.




_____________________________                 __________________                 ______________                     ___________
Borrower Signature                            Social Security Number             Date of Birth                      Date



_____________________________                 __________________                 ______________                     ___________
Co-borrower Signature                         Social Security Number             Date of Birth                      Date




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                                                                             HOMEOWNER’S HOTLINE


If you have questions about this document or the Making Home Affordable Program, please call your servicer.
If you have questions about the program that your servicer cannot answer or need further counseling, you can call the
Homeowner's HOPE™ Hotline at 1-888-995-HOPE (4673).

The Hotline can help with questions about the program and offers free HUD-certified counseling services in English and Spanish.




                                                                             NOTICE TO BORROWERS


Be advised that by signing this document you understand that any documents and information you submit to your servicer in connection with the Making Home Affordable Program are
under penalty of perjury. Any misstatement of material fact made in the completion of these documents including but not limited to misstatement regarding your occupancy of your property,
hardship circumstances, and/or income, expenses, or assets will subject you to potential criminal investigation and prosecution for the following crimes: perjury, false statements, mail fraud,
and wire fraud. The information contained in these documents is subject to examination and verification. Any potential misrepresentation will be referred to the appropriate law enforcement
authority for investigation and prosecution. By signing this document you certify, represent and agree that: “Under penalty of perjury, all documents and information I have provided to my
Servicer in connection with the Making Home Affordable Program, including the documents and information regarding my eligibility for the program, are true and correct.”

If you are aware of fraud, waste, abuse, mismanagement or misrepresentations affiliated with the Troubled Asset Relief Program, please contact the SIGTARP Hotline by calling 1-877-SIG-
2009 (toll-free), 202-622-4559 (fax), or www.sigtarp.gov and provide them with your name, our name as your servicer, your property address, loan number and the reason for escalation.
Mail can be sent to Hotline Office of the Special Inspector General for Troubled Asset Relief Program, 1801 L St. NW, Washington, DC 20220.

                                                                 Beware of Foreclosure Rescue Scams. Help is FREE!

       ·There is never a fee to get assistance or information about the Making Home Affordable Program from your lender or a HUD-approved housing counselor.

       ·Beware of any person or organization that asks you to pay a fee in exchange for housing counseling services or modification of a delinquent loan.

       ·Beware of anyone who says they can “save” your home if you sign or transfer over the deed to your house. Do not sign over the deed to your property to any
       organization or individual unless you are working directly with your mortgage company to forgive your debt.

       ·Never make your mortgage payments to anyone other than your mortgage company without their approval.




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                  To Be Completed if a Borrower/Co-Borrower Discloses Income From a
                         Household Member Who is Not on the Promissory Note


                                                                             LOAN #: ____________________


Your Hardship Affidavit /Request for Modification or Uniform Borrower Assistance Form indicates that a non-
borrower contributes to your total household income. For our purposes, a “non-borrower” is an individual who
resides in your home and contributes to the household income but is not personally obligated on your mortgage
loan. As part of the evaluation process, a Credit Authorization Form must be completed and signed by each
non-borrower.

Note: Updated or additional documents may be required. Copies of this form may be used if you have more than
one non-borrower contributing to your total household income.

Please have the non-borrower fully execute the below NON-BORROWER CREDIT AUTHORIZATION FORM.



     NON-BORROWER CREDIT AUTHORIZATION FORM TO OBTAIN CONSUMER CREDIT REPORT


The undersigned non-borrower certifies the following:

1. I am an occupant of _________________________________________________________(the “Property”);
                                          PROPERTY ADDRESS
2. I contribute to the total household income of the Property;
3. I understand and acknowledge that Bank of America is evaluating the mortgage loan that is secured by the
   Property for a loan modification.
4. I hereby authorize Bank of America, N.A., or its designated agent, to obtain and review a consumer credit
   report containing my credit history and other non-public information as part of its evaluation process.

This Authorization shall constitute the undersigned’s agreement to allow Bank of America, N.A. to obtain a copy
of a consumer credit report in the manner permitted by the Fair Credit Reporting Act.



_____________________________________            ________________________________________
NAME (Non-Borrower)                              SIGNATURE (Non-Borrower)



_____________________________________            ________________________________________
RELATIONSHIP TO BORROWER                         DATE



NON-BORROWER SOCIAL SECURITY NUMBER:                    _______-______-_______




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Hardship Letter
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Form    4506-T
(Rev. January 2012)
                                                         Request for Transcript of Tax Return
                                                                                                                                                         OMB No. 1545-1872
                                                     a   Request may be rejected if the form is incomplete or illegible.
Department of the Treasury
Internal Revenue Service
Tip. Use Form 4506-T to order a transcript or other return information free of charge. See the product list below. You can quickly request transcripts by using
our automated self-help service tools. Please visit us at IRS.gov and click on "Order a Transcript" or call 1-800-908-9946. If you need a copy of your return, use
Form 4506, Request for Copy of Tax Return. There is a fee to get a copy of your return.

   1a Name shown on tax return. If a joint return, enter the name                             1b First social security number on tax return, individual taxpayer identification
      shown first.                                                                               number, or employer identification number (see instructions)


   2a If a joint return, enter spouse’s name shown on tax return.                             2b Second social security number or individual taxpayer
                                                                                                 identification number if joint tax return


   3 Current name, address (including apt., room, or suite no.), city, state, and ZIP code (see instructions)


   4 Previous address shown on the last return filed if different from line 3 (see instructions)


   5 If the transcript or tax information is to be mailed to a third party (such as a mortgage company), enter the third party’s name, address,
     and telephone number.

        Bank of America c/o Tax Verification Service, 17842 Irvine Blvd, Tustin, CA 92780
Caution. If the tax transcript is being mailed to a third party, ensure that you have filled in lines 6 through 9 before signing. Sign and date the form once
you have filled in these lines. Completing these steps helps to protect your privacy. Once the IRS discloses your IRS transcript to the third party listed
on line 5, the IRS has no control over what the third party does with the information. If you would like to limit the third party's authority to disclose your
transcript information, you can specify this limitation in your written agreement with the third party.

   6     Transcript requested. Enter the tax form number here (1040, 1065, 1120, etc.) and check the appropriate box below. Enter only one tax form
         number per request. a                1040
    a    Return Transcript, which includes most of the line items of a tax return as filed with the IRS. A tax return transcript does not reflect
         changes made to the account after the return is processed. Transcripts are only available for the following returns: Form 1040 series,
         Form 1065, Form 1120, Form 1120A, Form 1120H, Form 1120L, and Form 1120S. Return transcripts are available for the current year
                                                                                                                                                  ✔
         and returns processed during the prior 3 processing years. Most requests will be processed within 10 business days . . . . . .
    b    Account Transcript, which contains information on the financial status of the account, such as payments made on the account, penalty
         assessments, and adjustments made by you or the IRS after the return was filed. Return information is limited to items such as tax liability
         and estimated tax payments. Account transcripts are available for most returns. Most requests will be processed within 30 calendar days    .
    c    Record of Account, which provides the most detailed information as it is a combination of the Return Transcript and the Account
         Transcript. Available for current year and 3 prior tax years. Most requests will be processed within 30 calendar days . . . . . . .
   7     Verification of Nonfiling, which is proof from the IRS that you did not file a return for the year. Current year requests are only available
         after June 15th. There are no availability restrictions on prior year requests. Most requests will be processed within 10 business days . .
   8     Form W-2, Form 1099 series, Form 1098 series, or Form 5498 series transcript. The IRS can provide a transcript that includes data from
         these information returns. State or local information is not included with the Form W-2 information. The IRS may be able to provide this
         transcript information for up to 10 years. Information for the current year is generally not available until the year after it is filed with the IRS.
         For example, W-2 information for 2010, filed in 2011, will not be available from the IRS until 2012. If you need W-2 information for retirement
         purposes, you should contact the Social Security Administration at 1-800-772-1213. Most requests will be processed within 45 days . . .
Caution. If you need a copy of Form W-2 or Form 1099, you should first contact the payer. To get a copy of the Form W-2 or Form 1099 filed
with your return, you must use Form 4506 and request a copy of your return, which includes all attachments.

   9     Year or period requested. Enter the ending date of the year or period, using the mm/dd/yyyy format. If you are requesting more than four
         years or periods, you must attach another Form 4506-T. For requests relating to quarterly tax returns, such as Form 941, you must enter
         each quarter or tax period separately.      12/31/2013               12/31/2012             12/31/2014
         Check this box if you have notified the IRS or the IRS has notified you that one of the years for which you are requesting a transcript
         involved identity theft on your federal tax return . . . . . . . . . . . . . . . . . . . . . . . . . . .
Caution. Do not sign this form unless all applicable lines have been completed.
Signature of taxpayer(s). I declare that I am either the taxpayer whose name is shown on line 1a or 2a, or a person authorized to obtain the tax
information requested. If the request applies to a joint return, either husband or wife must sign. If signed by a corporate officer, partner, guardian, tax
matters partner, executor, receiver, administrator, trustee, or party other than the taxpayer, I certify that I have the authority to execute Form 4506-T on
behalf of the taxpayer. Note. For transcripts being sent to a third party, this form must be received within 120 days of the signature date.

                                                                                                                                        Phone number of taxpayer on line
                                                                                                                                        1a or 2a
           F F F




                   Signature (see instructions)                                                            Date
Sign
Here               Title (if line 1a above is a corporation, partnership, estate, or trust)


                   Spouse’s signature                                                                      Date
For Privacy Act and Paperwork Reduction Act Notice, see page 2.                                             Cat. No. 37667N                        Form 4506-T (Rev. 1-2012)
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Section references are to the Internal Revenue             Chart for all other transcripts                          Individuals. Transcripts of jointly filed tax
Code unless otherwise noted.                                                                                     returns may be furnished to either spouse. Only
                                                           If you lived in            Mail or fax to the         one signature is required. Sign Form 4506-T
What's New                                                 or your business           “Internal Revenue          exactly as your name appeared on the original
The IRS has created a page on IRS.gov for                  was in:                    Service” at:               return. If you changed your name, also sign your
information about Form 4506-T at                                                                                 current name.
www.irs.gov/form4506. Information about any                Alabama, Alaska,                                         Corporations. Generally, Form 4506-T can be
recent developments affecting Form 4506-T                  Arizona, Arkansas,                                    signed by: (1) an officer having legal authority to
(such as legislation enacted after we released it)         California, Colorado,                                 bind the corporation, (2) any person designated
will be posted on that page.                               Florida, Hawaii, Idaho,                               by the board of directors or other governing
                                                           Iowa, Kansas,                                         body, or (3) any officer or employee on written
General Instructions                                       Louisiana, Minnesota,                                 request by any principal officer and attested to
                                                           Mississippi,                                          by the secretary or other officer.
CAUTION. Do not sign this form unless all                  Missouri, Montana,         RAIVS Team
applicable lines have been completed.                      Nebraska, Nevada,                                        Partnerships. Generally, Form 4506-T can be
                                                                                      P.O. Box 9941              signed by any person who was a member of the
Purpose of form. Use Form 4506-T to request                New Mexico,                Mail Stop 6734
                                                           North Dakota,                                         partnership during any part of the tax period
tax return information. You can also designate                                        Ogden, UT 84409            requested on line 9.
(on line 5) a third party to receive the information.      Oklahoma, Oregon,
Taxpayers using a tax year beginning in one                South Dakota, Texas,                                     All others. See section 6103(e) if the taxpayer
calendar year and ending in the following year             Utah, Washington,                                     has died, is insolvent, is a dissolved corporation,
(fiscal tax year) must file Form 4506-T to request         Wyoming, a foreign                                    or if a trustee, guardian, executor, receiver, or
a return transcript.                                       country, or A.P.O. or      801-620-6922               administrator is acting for the taxpayer.
                                                           F.P.O. address                                        Documentation. For entities other than
Note. If you are unsure of which type of transcript
you need, request the Record of Account, as it             Connecticut,                                          individuals, you must attach the authorization
provides the most detailed information.                    Delaware, District of                                 document. For example, this could be the letter
                                                           Columbia, Georgia,                                    from the principal officer authorizing an
Tip. Use Form 4506, Request for Copy of                                                                          employee of the corporation or the letters
                                                           Illinois, Indiana,
Tax Return, to request copies of tax returns.                                                                    testamentary authorizing an individual to act for
                                                           Kentucky, Maine,
Where to file. Mail or fax Form 4506-T to                  Maryland,                                             an estate.
the address below for the state you lived in,              Massachusetts,
or the state your business was in, when that               Michigan, New              RAIVS Team                 Privacy Act and Paperwork Reduction Act
return was filed. There are two address charts:            Hampshire, New             P.O. Box 145500            Notice. We ask for the information on this form
one for individual transcripts (Form 1040 series           Jersey, New York,          Stop 2800 F                to establish your right to gain access to the
and Form W-2) and one for all other transcripts.           North Carolina,            Cincinnati, OH 45250       requested tax information under the Internal
   If you are requesting more than one transcript          Ohio, Pennsylvania,                                   Revenue Code. We need this information to
or other product and the chart below shows two             Rhode Island, South                                   properly identify the tax information and respond
different addresses, send your request to the              Carolina, Tennessee,                                  to your request. You are not required to request
address based on the address of your most                  Vermont, Virginia,                                    any transcript; if you do request a transcript,
recent return.                                             West Virginia,                                        sections 6103 and 6109 and their regulations
Automated transcript request. You can quickly              Wisconsin                  859-669-3592               require you to provide this information, including
request transcripts by using our automated                                                                       your SSN or EIN. If you do not provide this
                                                           Line 1b. Enter your employer identification           information, we may not be able to process your
self-help service tools. Please visit us at IRS.gov
                                                           number (EIN) if your request relates to a             request. Providing false or fraudulent information
and click on “Order a Transcript” or call
                                                           business return. Otherwise, enter the first           may subject you to penalties.
1-800-908-9946.
                                                           social security number (SSN) or your individual           Routine uses of this information include giving
Chart for individual transcripts                           taxpayer identification number (ITIN) shown on        it to the Department of Justice for civil and
                                                           the return. For example, if you are requesting
(Form 1040 series and Form W-2                             Form 1040 that includes Schedule C (Form
                                                                                                                 criminal litigation, and cities, states, the District
and Form 1099)                                                                                                   of Columbia, and U.S. commonwealths and
                                                           1040), enter your SSN.                                possessions for use in administering their tax
If you filed an               Mail or fax to the           Line 3. Enter your current address. If you use a      laws. We may also disclose this information to
individual return             “Internal Revenue            P. O. box, include it on this line.                   other countries under a tax treaty, to federal and
and lived in:                 Service” at:                 Line 4. Enter the address shown on the last           state agencies to enforce federal nontax criminal
                                                           return filed if different from the address entered    laws, or to federal law enforcement and
Alabama, Kentucky,            RAIVS Team                                                                         intelligence agencies to combat terrorism.
Louisiana, Mississippi,       Stop 6716 AUSC               on line 3.
                                                           Note. If the address on lines 3 and 4 are different       You are not required to provide the
Tennessee, Texas, a           Austin, TX 73301
                                                           and you have not changed your address with the        information requested on a form that is subject
foreign country, American
                                                           IRS, file Form 8822, Change of Address.               to the Paperwork Reduction Act unless the form
Samoa, Puerto Rico,
                                                                                                                 displays a valid OMB control number. Books or
Guam, the                                                  Line 6. Enter only one tax form number per            records relating to a form or its instructions must
Commonwealth of the                                        request.                                              be retained as long as their contents may
Northern Mariana Islands,                                  Signature and date. Form 4506-T must be               become material in the administration of any
the U.S. Virgin Islands, or   512-460-2272                 signed and dated by the taxpayer listed on line       Internal Revenue law. Generally, tax returns and
A.P.O. or F.P.O. address                                   1a or 2a. If you completed line 5 requesting the      return information are confidential, as required by
Alaska, Arizona, Arkansas,    RAIVS Team                   information be sent to a third party, the IRS must    section 6103.
California, Colorado,         Stop 37106                   receive Form 4506-T within 120 days of the date           The time needed to complete and file Form
Hawaii, Idaho, Illinois,      Fresno, CA 93888             signed by the taxpayer or it will be rejected.        4506-T will vary depending on individual
Indiana, Iowa, Kansas,                                     Ensure that all applicable lines are completed        circumstances. The estimated average time is:
Michigan, Minnesota,                                       before signing.                                       Learning about the law or the form, 10 min.;
Montana, Nebraska,                                                                                               Preparing the form, 12 min.; and Copying,
Nevada, New Mexico,                                                                                              assembling, and sending the form to the IRS,
North Dakota, Oklahoma,                                                                                          20 min.
Oregon, South Dakota,
Utah, Washington,             559-456-5876                                                                           If you have comments concerning the
Wisconsin, Wyoming                                                                                               accuracy of these time estimates or suggestions
                                                                                                                 for making Form 4506-T simpler, we would be
Connecticut, Delaware,        RAIVS Team                                                                         happy to hear from you. You can write to:
District of Columbia,         Stop 6705 P-6                                                                          Internal Revenue Service
Florida, Georgia, Maine,      Kansas City, MO 64999                                                                  Tax Products Coordinating Committee
Maryland, Massachusetts,                                                                                             SE:W:CAR:MP:T:M:S
Missouri, New Hampshire,                                                                                             1111 Constitution Ave. NW, IR-6526
New Jersey, New York,                                                                                                Washington, DC 20224
North Carolina, Ohio,
Pennsylvania, Rhode                                                                                                  Do not send the form to this address. Instead,
Island, South Carolina,                                                                                          see Where to file on this page.
Vermont, Virginia, West       816-292-6102
Virginia
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               Financial Review Worksheet
       ****PLEASE COMPLETE THE INFORMATION REQUESTED BELOW****


   Name:                                        Date:
   Home #:                                      Other contact#
   Work #:                                      Cell #:
   Mailing Address:
   Property Address:
   Loan Number(s):


                                    Monthly Expenses
    Please list ALL of your monthly expenses, and also note if any of them are past due. If
     any of these expenses are past due list how much is past due ($total) and how many
                                            months.

   Other Mortgages: $                           Food: $
   Liens:$                                      Electric Bill: $
   Gas Bill: $                                  Cable/Dish: $
   Auto(s): $                                   HOA Fees: $
   Auto Insurance: $                            Medical:$
   Credit Cards: $                              Entertainment: $
   Child Care: $                                Clothes: $
   Child Support/Alimony: $                     Dental Insurance: $
   Personal Loans: $                            Internet: $
   Cell Phone: $                                Water/Sewage: $
   School lunches: $                            Education/Tuition: $
   Home Security System: $                      Health Insurance:$
   Gasoline: $                                  Tolls/Parking: $
   Hazard insurance: $                          Flood insurance: $
   Earthquake insurance:$                       Other: $
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                                  General Information
   Number of Automobiles owned ______           Number of people living in the home______

      Has your hardship ended?          Yes or No       ***Attach a hardship letter***

      * A hardship letter is a letter stating the reason your loan went into default and how
      your financial situation/circumstances has or has not changed since the default,
      depending on your current status, along with your interest in resolving the matter.

      Who currently occupies the property?

      Are you represented by an attorney? If so, please provide their contact information.

      How much money do you have to contribute towards the delinquency?



                                    Monthly Income
   How often do you get paid? _________ (monthly, weekly, bi-weekly, yearly)

   Net Amount:

   Gross Amount:

   Rents Received:

   Unemployment:

   Disability:

   Child Support/Alimony:

   Other:
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                          Co-Borrower Monthly Income
   How often do you get paid? _________ (monthly, weekly, bi-weekly, yearly)

   Net Amount:

   Gross Amount:

   Rents Received:

   Unemployment:

   Disability:

   Child Support/Alimony:

   Other:



                             Employment Information
   Name & Address of Employer:


   Name & Address of Employer for Co-Borrower:
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Dodd-Frank Certification
The following information is requested by the federal government in accordance with the Dodd-
Frank Wall Street Reform and Consumer Protection Act (Pub. L. 111-203). You are required
to furnish this information. The law provides that no person shall be eligible to receive
assistance from the Making Home Affordable Program, authorized under the Emergency
Economic Stabilization Act of 2008 (12 U.S.C. 5201 et seq.), or any other mortgage assistance
program authorized or funded by that Act, if such person, in connection with a mortgage or real
estate transaction, has been convicted, within the last 10 years, of any one of the following: (A)
felony larceny, theft, fraud or forgery, (B) money laundering or (C) tax evasion.


                   Borrower                                         Co-Borrower
    I have not been convicted within the last       I have not been convicted within the last
     10 years of any one of the following in          10 years of any one of the following in
     connection with a mortgage or real               connection with a mortgage or real
     estate transaction:                              estate transaction:
     (a) felony larceny, theft, fraud or forgery,     (a) felony larceny, theft, fraud or forgery,
     (b) money laundering or                          (b) money laundering or
     (c) tax evasion                                  (c) tax evasion



In making this certification, I/we certify under penalty of perjury that all of the information in this
document is truthful and that I/we understand that the Servicer, the U.S. Department of the
Treasury, or their agents may investigate the accuracy of my statements by performing routine
background checks, including automated searches of federal, state and county databases, to
confirm that I/we have not been convicted of such crimes. I/we also understand that knowingly
submitting false information may violate Federal law.

______________________________________                                 ___________
Borrower Signature                                                           Date

______________________________________                                 ___________
Co-Borrower Signature                                                        Date
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      Sample Profit and Loss Statement for Self–Employed Homeowners

               Note: This is a sample template to be used as a guide for homeowners.
               Depending on your business, you may be asked to provide additional information.
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    Instructions for Completing Sample Profit and Loss Statement for Self‐Employed Homeowners 


                                                                                            
                                                     The numbered sections correspond to the definitions below.  Please note that the numbered 
                                                     order of the definitions is not necessarily the order in which the form should be completed. 
                                                                                                          
                                                     In the columns, provide either your most recent Quarterly or Year‐to‐date numbers     
                                                        
                                                       1. Gross Margin = (Gross Profit) / (Total Sales Revenue) 
                                                       2. Return on Sales = (Net Profit) / (Total Sales Revenue) 
                                                       3. Total Sales Revenue = All Income from Sales or Services.  All money collected from the 
                                                          work you have done. 
                                                       4. Gross Profit = (Total Sales Revenue) ‐ (Total Cost of Sales) 
                                                       5. Total Operating Expenses = (Total Sales and Marketing Expenses) + (Total Research and 
                                                          Development Expenses) + (Total General and Administrative Expenses) 
                                                       6. Income from Operations = (Gross Profit) ‐ (Total Operating Expenses) 
                                                       7. Examples of Other Income includes: bad debts recovered, interest, tax refunds and other 
                                                          miscellaneous business income 
                                                       8. Net Profit = (Income from Operations) + (Other Income) ‐ (Total Taxes) 
                                                        
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Attorney Authorization Form for Customers in Active Bankruptcy
Please complete this form and fax to1-800-658-0395

                                       Attorney Authorization Agreement
I hereby authorize Bank of America, N.A. to initiate verbal and written contact with my client for the purpose of
reviewing my client’s mortgage account for eligibility for loan assistance options during the pendency of the
Bankruptcy proceeding. I also authorize Bank of America, N.A. to work directly with my client throughout the loan
assistance review and approval process.
Further, I authorize Bank of America, N.A. to work with my client to review multiple loan assistance options and
determine their eligibility for any available programs during the pendency of the Bankruptcy proceeding. I
understand that working with my client on loan assistance options may include verbal/written contact with my
client, document requests (including financial and income documentation), soft credit pulls, title searches or
other requests as needed based on program eligibility requirements. Loan assistance options to be reviewed
may include one or more of the following:

                Loan Modification Options
                Short Sale
                Deed in Lieu
                FHA Partial Claim



This agreement will remain in effect until Bank of America, N.A. receives a written notice of cancellation from me
or my client or notice of the dismissal.
                                               Account Information

BK Case #/District/Chapter:



BAC Account #:



Client’s Name:

Address of Property:   __________________________________________________________________

                                                    Signature

Attorney Authorized Signature:                                                             Date:

Attorney Authorized Signature:                                                             Date:




Debtor’s Attorney Contact Information:

Name

Phone #




                                                                                                            5399-3
